             In the
        Court of Appeals
Second Appellate District of Texas
         at Fort Worth
     ___________________________
          No. 02-24-00024-CV
     ___________________________

       ROBERT LANE, Appellant

                    V.

         ODLE, INC., Appellee



  On Appeal from the 442nd District Court
          Denton County, Texas
       Trial Court No. 22-8611-442


  Before Birdwell, Bassel, and Womack, JJ.
 Memorandum Opinion by Justice Womack
                          MEMORANDUM OPINION

                                 I. INTRODUCTION

      Appellant Robert Lane was injured at work and sued his employer, Appellee

Odle, Inc., alleging that Odle had been negligent and was a workers’ compensation

nonsubscriber under the Texas Workers’ Compensation Act (TWCA). See Tex. Lab.

Code Ann. § 406.033 (explaining that without workers’ compensation insurance, an

employer may not raise certain defenses to an employee’s negligence claim).

      In its answer, Odle asserted that Lane had been receiving workers’

compensation benefits and raised as affirmative defenses Lane’s election of remedies

and his exclusive remedy under Labor Code Section 408.001. See id. § 408.001(a)

(“Recovery of workers’ compensation benefits is the exclusive remedy of an employee

covered by workers’ compensation insurance coverage . . . for . . . a work-related

injury sustained by the employee.”). Odle moved for a traditional summary judgment

under Section 408.001(a), and Lane filed a combined response and cross-motion for a

traditional and no-evidence summary judgment in which he insisted that Odle was a

TWCA nonsubscriber and that Odle had no evidence that its workers’ compensation

policy had been approved by the Texas Department of Insurance (TDI).1


      1
       Odle amended its summary judgment motion to include its election-of-
remedies defense, but Lane did not amend his response. Because we resolve this
appeal on Odle’s exclusive-remedy affirmative defense, we need not consider Lane’s
argument that the trial court could have impermissibly granted Odle’s amended
motion by default based on his failure to file an amended response. Cf. Mailloux v. KJ
Env’t Mgmt., Inc., No. 02-20-00059-CV, 2020 WL 6334176, at *2 (Tex. App.—Fort

                                          2
      The trial court granted summary judgment for Odle and denied Lane’s cross-

motion, and in his two issues on appeal, Lane complains that this was error. Because

the record reflects that the trial court did not so err, we overrule both of Lane’s issues

and affirm the trial court’s judgment.

                                   II. BACKGROUND

A. Odle’s summary judgment arguments and evidence

      Odle argued that the TWCA barred Lane’s negligence claim because Odle’s

uncontroverted summary judgment evidence established that Lane was its employee

and that he was covered by workers’ compensation insurance when he was injured.

To support its argument, Odle attached Lane’s amended original petition in which

Lane alleged—among other things—that on March 15, 2021, when he was injured, he

had been “working in the course and scope of his employment” for Odle at a jobsite

in Texas. Odle also attached the affidavit of Joseph Greiner, an Odle Service Center

Manager, who averred that at the time of Lane’s injuries, Lane had worked for Odle

and had been covered by workers’ compensation insurance under a policy issued to

Odle’s parent company, SUEZ North America Inc., by Everest Premier Insurance

Company (the SUEZ Policy).




Worth Oct. 29, 2020, no pet.) (mem. op.) (explaining that a summary judgment
motion cannot be granted by default but rather “must stand or fall on [its] own
merits” (quoting McConnell v. Southside ISD, 858 S.W.2d 337, 342 (Tex. 1993)).


                                            3
       In his affidavit, Greiner stated that Odle “is an additional named insured under

the SUEZ Policy,” and he sponsored page 114 of the Suez Policy as Exhibit 1. He

also listed Odle’s federal employment ID number (FEIN) and its current and

previous business addresses in Muncie, Indiana. Exhibit 1 shows that, effective

January 1, 2021, SUEZ North America Inc. was the SUEZ Policy’s named insured,

with Odle Inc. (identified by its address and FEIN) as a covered location.

       Greiner further averred,

       The SUEZ Policy provides workers’ compensation benefits to Odle’s
       employees in forty (40) states, including Texas, and applies to the
       workers’ compensation laws of those states. A true and correct copy of
       the Policy’s declaration page is attached to this Affidavit as Exhibit 2.
       The Policy contains numerous Texas amendatory endorsements required
       by [TDI] and the Texas Labor Code. True and correct copies of these
       amendatory endorsements are attached to this Affidavit as Exhibit 3.

       Finally, the SUEZ Policy contains a Texas classification of operations
       page establishing that SUEZ/Odle paid workers’ compensation
       insurance premiums for work-related accidents occurring in Texas,
       including accidents arising from water storage tank operations, the same
       activity Lane was performing at the time of his work-related injury. A
       true and correct copy of the Texas classification of operations/premium
       page of the SUEZ Policy is attached hereto as Exhibit 4.

       Greiner’s Exhibit 2, the SUEZ Policy’s “information page,” lists forty states

and recites in Section 3.A., “Part One of the policy applies to the Workers

Compensation Law of the states listed here: . . . TX . . . .”

       Greiner’s Exhibit 3, which was the insurance company’s notice to “Texas

Workers Compensation and Employers Liability Policyholders,” states, “Pursuant to



                                             4
Texas Labor Code § 411.066,[2] Everest Premier Insurance Company is required to

notify its policyholders that accident prevention services are available from Everest

Premier Insurance Company at no additional charge” and that the insurance company

is also “required to provide return-to-work coordination services as required by Texas

Labor Code § 413.021 and to notify you of the availability of the return-to-work

reimbursement program for employers under Texas Labor Code § 413.022.”3 It also

listed the contact information for TDI’s Division of Workers’ Compensation (DWC)

and stated,

      If Everest Premier Insurance Company fails to respond to your request
      for accident prevention services or return-to-work coordination services,
      you may file a complaint with the TDI–DWC in writing at
      http://www.tdi.texas.gov or mail to:

      Texas Department of Insurance
      Division of Workers’ Compensation, MS-8,
      7551 Metro Center Drive
      Austin, Texas 78744-1645.

      Exhibit 3 also contained the SUEZ Policy’s “TEXAS IMPORTANT

NOTICE,” which stated that if the insured believed there had been a legal violation

related to the workers’ compensation policy, it should “file a complaint with [TDI]”

      2
        Labor Code Section 411.066 states, “Notice that accident prevention services
are available to the policyholder from the insurance company must appear in at least
10-point bold type on the front of each workers’ compensation insurance policy
delivered or issued for delivery in this state.” Tex. Lab. Code Ann. § 411.066.
      3
       Labor Code Section 413.021 addresses return-to-work coordination services.
Tex. Lab. Code Ann. § 413.021. Labor Code Section 413.022 addresses a return-to-
work reimbursement program for employers. Id. § 413.022.


                                          5
and then listed TDI’s 1-800 phone number, its website, an email address

(ConsumerProtection@tdi.texas.gov), and a specific mailing address (MC111-1A,

P.O. Box 149091, Austin, Texas 78714-9091). The notice page also stated that as to

employees with claim issues, “If one of your employees has a problem with a claim,

contact [TDI, DWC], Compliance and Investigations,” and it listed a different mailing

address (MS-8, 7551 Metro Center Drive, Suite 100, Austin, TX 78744), a fax number

(512-490-1030), an email address (DWC-ComplianceReview@tdi.texas.gov), and

another 1-800 number. Exhibit 3 also contained the “Texas Waiver of Our Right to

Recover From Others Endorsement,” which stated, “This endorsement applies only

to the insurance provided by the policy because Texas is shown in Item 3.A. of the

Information Page,” and it set a two-percent premium charge for the endorsement.

[CR85] Exhibit 3 also included the “Texas Sole Proprietors, Partners, Officers and

Others Coverage Endorsement” under Labor Code Section 406.097. See id. § 406.097

(addressing coverage of a company’s proprietors, partners, or corporate executives).

Greiner’s Exhibit 4 contained premium information for the policy’s Texas coverage,

effective January 1, 2021.

      Odle also attached an affidavit from Tandy Lyon, a claims examiner for

Sedgwick Claims Management Services, Inc., which Lyon stated was “the third-party

claims administrator for Everest Premier Insurance Company.” Lyon averred that in

January 2021, Everest issued the SUEZ Policy with Odle as an additional insured and

a policy term of January 1, 2021–January 1, 2022.

                                          6
      Lyon further averred that on July 19, 2022, Lane, as one of Odle’s employees,

“made a claim for workers’ compensation benefits under the [SUEZ] Policy arising

from work-related injuries he sustained on or about March 15, 2021”; that she was his

case’s assigned claims examiner; that she had been “adjusting the claim on behalf of

Everest pursuant to the terms and conditions of the [SUEZ] Policy”; and that Everest

had paid to Lane $92,209.56 in indemnity benefits and $3,330.30 in medical benefits

on the claim and would continue to pay him $705 per week until November 8, 2023.

      Odle also attached the July 19, 2022 notice of representation Lane’s attorney

had filed with TDI–DWC, listing Lane’s injury date (March 15, 2021) and his DWC

claim number. The notice listed Odle as Lane’s employer and gave Odle’s Muncie,

Indiana address.

B. Lane’s response, cross-motion, and summary judgment evidence

      In his summary judgment response and cross-motion, Lane asserted that even

though he was receiving out-of-state insurance policy benefits, Odle could not use the

exclusive-remedy affirmative defense because neither Odle nor SUEZ was a registered

subscriber to the Texas Workers’ Compensation Insurance program and because Odle

could produce no evidence that TDI had approved the SUEZ Policy. Lane relied in

part on Labor Code definitions and on a Texas Administrative Code section that

became effective December 21, 1987. See 28 Tex. Admin. Code § 43.5 (1987) (Tex.

Dep’t of Ins., Notice That Employer Has Become Subscriber).



                                          7
      To his response and cross-motion, Lane attached his W-2 showing Odle’s

FEIN; Odle’s franchise tax account status, which states “right to transact business in

Texas: NOT ESTABLISHED” and that Odle had no effective secretary-of-state

registration date; and the same document attached by Greiner as Exhibit 1, showing

SUEZ North America, Inc. as the named insured, with Odle as a location and on

which he highlighted Odle’s Muncie, Indiana address. Lane also attached various

documents from TDI:

• A print-out from the TDI–DWC website showing “no results found” when a

   search was run for Odle’s coverage as of March 15, 2021;

• An August 29, 2022 letter from TDI to Lane’s attorney that stated, “Insurance

   Coverage Information request for SUEZ WTS USA, INC. 03/15/2021,”4 and that

   “No insurance coverage information concerning the above-referenced subject was

   found,” and an August 29, 2022 TDI Certification of No Records Found, as to

   SUEZ WTS USA, INC.; and

• An August 25, 2022 letter from TDI to Lane’s attorney that stated, “Insurance

   Coverage Information request for Odle, Inc., date range of: 03/15/2021,” and that

   “No insurance coverage information concerning the above-referenced subject was




      4
       Like Odle, SUEZ WTS USA INC. is listed on the SUEZ Policy as an
additional named insured.


                                          8
   found,” and an August 25, 2022 TDI Certification of No Records Found as to

   Odle, Inc.

       Lane did not attempt to controvert the facts set out in Greiner’s and Lyon’s

affidavits or in Greiner’s exhibits.

C. Odle’s response to Lane’s cross-motion

       In response to Lane’s cross-motion, Odle complained that Lane’s arguments

were based on his erroneous open-records request to TDI–DWC for coverage

information on SUEZ WTS USA, Inc. instead of SUEZ North America, the named

insured of the SUEZ Policy, under which Lane had been receiving workers’

compensation benefits. To its response, Odle attached Lane’s exhibit pertaining to

the TDI–DWC searches for insurance coverage for SUEZ WTS USA, INC.

(highlighting the name) and the affidavits and exhibits it had previously filed.

                                       III. DISCUSSION

       In his two issues, Lane argues that the trial court erred by granting summary

judgment for Odle and by denying his cross-motion, contending that although Odle

offered some evidence of workers’ compensation coverage, it failed to discharge its

traditional summary judgment burden because it had failed to offer any evidence that

its policy had been “approved” by TDI and because it had failed to offer evidence

that the insurance carrier was authorized to write workers’ compensation insurance in

Texas. He also relies on these arguments and Odle’s failure to show that it had



                                             9
registered as a subscriber with TDI in support of his no-evidence complaints.5 Lane

contends that Odle should have submitted an affidavit from the insurance company’s

managing director or a TDI certification of the insurance company’s authority to

provide workers’ compensation insurance in Texas, that Odle should have shown that

it had met Administrative Code Section 43.5’s insurance coverage notice rule, and that

Odle’s failure to do either deprived it of the exclusive-remedy affirmative defense.

      Odle responds that Lane’s arguments fail to raise an inference of no coverage

or a fact issue on the exclusive-remedy defense’s essential elements and that Lane

failed to meet his summary judgment burden by failing to object to or controvert

Odle’s affidavit evidence.

A. Standard of review

      We review a summary judgment de novo.               Travelers Ins. Co. v. Joachim,

315 S.W.3d 860, 862 (Tex. 2010). We consider the evidence presented in the light

most favorable to the nonmovant, crediting evidence favorable to the nonmovant if

reasonable jurors could, and disregarding evidence contrary to the nonmovant unless

reasonable jurors could not. Mann Frankfort Stein &amp; Lipp Advisors, Inc. v. Fielding, 289

S.W.3d 844, 848 (Tex. 2009). We indulge every reasonable inference and resolve any

doubts in the nonmovant’s favor. 20801, Inc. v. Parker, 249 S.W.3d 392, 399 (Tex.

      5
        Lane also argues that he made no election of remedies by merely accepting the
out-of-state workers’ compensation benefits. Based on our disposition of Odle’s
exclusive-remedy summary judgment ground, we do not reach these arguments. See
Tex. R. App. P. 47.1.


                                           10
2008). A defendant is entitled to summary judgment on an affirmative defense if the

defendant conclusively proves all elements of that defense.        Frost Nat’l Bank v.

Fernandez, 315 S.W.3d 494, 508–09 (Tex. 2010); see Tex. R. Civ. P. 166a(b), (c). And

“[w]hen both sides move for summary judgment and the trial court grants one motion

and denies the other, we review the summary judgment evidence presented by both

sides and determine all questions presented.” Mann Frankfort, 289 S.W.3d at 848. We

should then render the judgment that the trial court should have rendered. See id.
B. The TWCA’s framework

      “The Texas Legislature enacted the original Workers’ Compensation Act

in 1913 in response to the needs of workers who, despite a growing incidence of

industrial accidents, were increasingly being denied recovery.” In re Poly-Am., L.P.,

262 S.W.3d 337, 350 (Tex. 2008) (orig. proceeding). The TWCA “ultimately struck a

bargain that allows employees to receive []a lower, but more certain, recovery than

would have been possible under the common law[].” SeaBright Ins. Co. v. Lopez,

465 S.W.3d 637, 642 (Tex. 2015); see Berkel &amp; Co. Contractors, Inc. v. Lee, 612 S.W.3d

280, 284 (Tex. 2020) (explaining that a central purpose of workers’ compensation is to

promote certainty and speed in resolving work-related injury claims and to provide

medical and disability benefits without regard to fault of either the injured worker or

the employer); see also Tex. Mut. Ins. Co. v. Ruttiger, 381 S.W.3d 430, 439 (Tex. 2012)

(recounting the TWCA’s history and noting that the amendments from 1989 onward

“provide[d for] significantly more meaningful proceedings at the administrative

                                          11
agency level so as to reduce the number and cost of judicial trials, speed up the time

for the entire dispute resolution process, and facilitate interlocutory payment of

benefits pending final resolution of disputes” through “detailed procedures and

penalties for failures of the various interested parties to comply with statutory and

regulatory requirements”).

      Today, the TWCA is “a comprehensive legislative framework that creates a

statewide no-fault insurance system for workers injured or killed in the course and

scope of their employment.” Tex. Pol. Subdivisions Joint Self-Ins. Fund v. Tex. Dep’t of

Ins.–Div. of Workers’ Comp., 681 S.W.3d 491, 493 (Tex. App.—Austin 2023, pet.

denied); see Tex. Mut. Ins. Co. v. PHI Air Med., LLC, 610 S.W.3d 839, 858 (Tex. 2020)

(Bland, J., concurring) (“The [TWCA] is a comprehensive regulatory structure for

insurance carriers, employers, employees, health care providers, and others who claim

benefits under a workers’ compensation policy.”).

      The TWCA’s purpose is to provide employees with certainty that their medical

bills and lost wages will be covered if they are injured, HCBeck, Ltd. v. Rice,

284 S.W.3d 349, 350 (Tex. 2009), but the coverage “is a two-way street,” benefitting

both employees and employers. Waste Mgmt. of Tex., Inc. v. Stevenson, 622 S.W.3d 273,

285 (Tex. 2021). That is, employers who cover their employees benefit from the

exclusive-remedy protection under Labor Code Section 408.001(a), and workers who

qualify as employees receive compensation for injuries without regard to fault or

negligence and without spending the time and litigation expenses inherent in proving

                                          12
fault in a common-law tort claim. Id. The supreme court has historically construed

the TWCA liberally in favor of coverage based on these reciprocal benefits. Id.; see

TIC Energy &amp; Chem., Inc. v. Martin, 498 S.W.3d 68, 72, 74, 77–78 (Tex. 2016) (noting

“decided bias” for coverage in statutory scheme).

      “Unlike workers’ compensation laws in every other state, the TWCA allows

private Texas employers to choose whether to subscribe to workers’ compensation

insurance.” Port Elevator-Brownsville v. Casados, 358 S.W.3d 238, 241 (Tex. 2012). That

is, there is no guarantee that an employer will provide workers’ compensation for its

employees despite public policy’s strongly encouraging it. HCBeck, Ltd., 284 S.W.3d

at 354. But without such coverage, the employer loses the exclusive-remedy defense.

Id.

      1. Section 408.001(a)’s exclusive remedy

      Section 408.001(a) provides that recovery of workers’ compensation benefits

“is the exclusive remedy” against an employer for a work-related injury by “an

employee covered by workers’ compensation insurance coverage.” Tex. Lab. Code

Ann. § 408.001(a). The TWCA defines “employer” as “unless otherwise specified, a

person who makes a contract of hire, employs one or more employees, and has workers’

compensation insurance coverage.” Id. § 401.011(18) (emphasis added). Under the TWCA,

“workers’ compensation insurance coverage” means “an approved insurance policy to

secure the payment of compensation.” Id. § 401.011(44)(A).



                                          13
      As pointed out by Lane, Section 401.011 does not define “approved.” See id.

However, the supreme court has stated that “[a]mong the[ TWCA’s] requirements is

the legislative directive that only workers’ compensation policies approved by [TDI] are

available in Texas.” Fairfield Ins. Co. v. Stephens Martin Paving, LP, 246 S.W.3d 653, 658
(Tex. 2008) (emphasis added). “These state-approved policies are contracts between

private insurance companies and employers; the employees of subscribing employers

are the beneficiaries, and health care providers claim direct benefits under the policy.”

Tex. Mut. Ins. Co., 610 S.W.3d at 859 n.26 (Bland, J., concurring) (citing Tex. Lab.

Code Ann. §§ 406.003, .051, 408.001); see Beldon Roofing &amp; Remodeling Co. v. San Antonio

Water Sys., 898 S.W.2d 351, 354 (Tex. App.—San Antonio 1995, writ denied) (stating

that the “workers’ compensation insurance coverage” definition under Section

401.011(44) restricts the methods by which an employer may obtain such coverage).

      Labor Code Section 401.011 defines “insurance carrier” as, among other things,

an insurance company, and it defines “insurance company” as “a person authorized

and admitted by [TDI] to do insurance business in this state under a certificate of

authority that includes authorization to write workers’ compensation insurance.” Tex.

Lab. Code Ann. § 401.011(27)–(28); see id. § 406.003 (“An employer may obtain

workers’ compensation insurance coverage through a licensed insurance company or

through self-insurance as provided by this subtitle.”); see also Tex. Ins. Code Ann.

§ 2052.001 (defining “insurance company,” in relation to workers’ compensation, as

an entity “authorized to engage in the business of workers’ compensation insurance in

                                           14
this state”).   Labor Code Section 406.051(b) requires an insurance company

contracting to provide workers’ compensation insurance under the TWCA to write

the coverage contract “on a policy and endorsements approved by [TDI].” Tex. Lab.

Code Ann. § 406.051(a)–(b); see Tex. Ins. Code Ann. § 2052.002(a)–(b) (requiring

standard policy forms and a uniform policy for workers’ compensation insurance and

stating that “an insurance company may not use a form other than one prescribed

under this section unless the form is an endorsement:         (1) appropriate to the

company’s plan of operation; and (2) submitted to and approved by [TDI]”). TDI is

supposed to coordinate with the appropriate agencies of other states to share

information regarding an employer who obtains all-states coverage and to ensure that

TDI knows about an employer who obtains all-states coverage in another state but

who fails to file notice with TDI.6 Tex. Lab. Code Ann. § 406.053.

      2. Notifications and administrative violations

      Under Labor Code Section 406.004(a), an employer who does not obtain

workers’ compensation insurance coverage “shall notify the division in writing, in the

time and as prescribed by commissioner rule, that the employer elects not to obtain

coverage.” Id. § 406.004(a). Under Section 406.006(a), an insurance company from

      6
        Odle correctly points out that Lane’s reference in his appellate brief to his
TDI–DWC website searches for SUEZ North America and SUEZ NA cannot be
considered in this appeal. Lane acknowledges that these searches were conducted
“too late to make it into the record.” We must determine a case based on the record
as filed. See Murphy v. Leveille, No. 2-08-130-CV, 2009 WL 2619857, at *2 n.3 (Tex.
App.—Fort Worth Aug. 26, 2009, no pet.) (mem. op.).


                                         15
which an employer has obtained workers’ compensation insurance coverage “shall file

notice of the coverage and claim administration contact information with the division

not later than the 10th day after the date on which the coverage or claim

administration agreement takes effect, unless the commissioner adopts a rule

establishing a later date for filing.” Id. § 406.006(a). The required notice “shall be

filed with [DWC] in accordance with Section 406.009,” which requires DWC to

collect and maintain this information and to monitor compliance. Id. §§ 406.006(b),

.009(a), (d).

       As last updated December 21, 1987, notice that an employer has become a

subscriber “shall be filed with the board’s Austin office by certified mail or in person

within 30 days of the effective date of the policy and the notice must be completed in

detail,” with—among other things—the employer’s FEIN, the insurance policy

number, the policy’s effective date, and the insurance company’s complete name.

28 Tex. Admin. Code § 43.5. Likewise, insurance carriers are also required to notify

DWC of workers’ compensation insurance coverage. Id. § 110.1(d)–(e) (2013) (Tex.

Dep’t of Ins., Insurance Carrier Requirements for Notifying the Division of Insurance

Coverage).7



       Neither party has addressed the fact that, under various Administrative Code
       7

provisions, Everest Premier Insurance Company, which issued the SUEZ Policy,
could have notified TDI about the companies—SUEZ North America Inc. and Odle
among them—for which it provided workers’ compensation insurance coverage.


                                          16
        Chapter 415 of the Labor Code governs administrative violations by employers,

insurance carriers, and employees, among others.            See Tex. Lab. Code Ann.

§§ 415.001–.008. “A reference in [the Labor Code] or other law . . . to a particular

class of violation, administrative violation, or penalty shall be construed as a reference

to an administrative penalty,” which may not exceed $25,000 per day per occurrence;

each day of noncompliance constitutes a separate violation. Id. § 415.025.

        The administrative-violation scheme is part of the legislature’s overarching

framework to implement the workers’ compensation system’s goals.                   See id.

§ 402.021(a)(1)–(4). In implementing these goals, the legislature has expressed its

intent that the state workers’ compensation system “promptly detect and

appropriately address acts or practices of noncompliance with [the TWCA] and rules

adopted” thereunder. Id. § 402.021(b)(7); see Ruttiger, 381 S.W.3d at 442 (“A carrier’s

failure to comply with the Act’s requirements, deadlines, and procedures is not

without consequences . . . . provid[ing, among other things] that a carrier or its

representative commits an administrative violation for any of twenty-two specified

actions . . . .”).

        “The original creation of, continued existence of, and amendments to update

and improve the workers’ compensation system are within the [l]egislative function of

establishing public policy.” Ruttiger, 381 S.W.3d at 450. A “key” part of the system

includes “the penalties imposed for failing to comply with legislatively mandated rules,

and the procedures for imposing such penalties.” Id.; see In re Accident Fund Gen. Ins.

                                           17
Co., 543 S.W.3d 750, 754 (Tex. 2017) (orig. proceeding) (“[DWC] is charged with

ensuring all system participants, including carriers, comply with the rules, and when

participants abuse the process, administrative penalties are available.”).8

       An employer commits an administrative violation if, among other things, it

does not notify DWC in writing on the agency-prescribed forms that it has elected not

to obtain coverage, Tex. Lab. Code Ann. § 406.004(a)–(b), (e), or if it does not notify

each employee about whether it has workers’ compensation insurance coverage, id.
§ 406.005(a)–(e). See also id. § 408.063(a)–(c) (failing to timely file wage statement after

notice of injury), § 409.006(a)–(c), (e) (failing to comply with injury record-keeping

requirements), § 411.032 (failing to meet certain reporting requirements).

       Likewise, a workers’ compensation insurer may commit a variety of

administrative violations, including failure to timely file notice of coverage and claim

administration contact information with DWC, see id. § 406.006(a)–(c), failure to

provide claims service as required by the TWCA or to designate a representative to act

as its agent before DWC, see id. §§ 406.010(a)–(b), (d), .011(a)–(b), or failure to

maintain or provide TWCA’s required accident prevention services or to use those

services in a reasonable manner to prevent injury to its policyholders’ employees, see


       In addition to insurers and employers, administrative violations apply to
       8

general contractors, see Tex. Lab. Code Ann. § 406.123(g), self-insurers, see id.§§ 407.067, .082, .104, and health care providers, see id. § 413.042. And any party may
commit an administrative violation during the adjudication of disputes between the
employee, employer, or insurer. See id. §§ 410.028(c), .112–.113, .156, .208(e).


                                            18
id. § 411.068. See also id. §§ 409.021(a), (e), .022(c), .023(a), (c), .024(a)–(b) (addressing

administrative violations relating to benefits payments). The TWCA also “provides

the exclusive procedures and remedies for claims alleging that a workers’

compensation carrier has improperly investigated, handled, or settled a worker[’s]

claim for benefits.” Accident Fund Gen. Ins. Co., 543 S.W.3d at 752.

       Both employers and insurers commit an administrative violation if they fail to

identify or confirm coverage status and claim administration contact information.

Tex. Lab. Code Ann. § 406.009(d)–(e). All the administrative violations pertaining to

coverage elections are subject to Labor Code Chapter 415’s administrative penalties.

Id. § 406.012. The Labor Code also sets out some criminal penalties, including a Class

A misdemeanor or state jail felony for fraudulently obtaining workers’ compensation

insurance coverage. Id. § 418.002 (stating offense is a misdemeanor if the premium

avoided is less than $2,500 and a state jail felony if the premium avoided is $2,500 or

more); see id. §§ 411.034(a)–(d), .105, 413.043(a)–(b) (other misdemeanor offenses),

§ 414.006(a) (providing that DWC may refer cases to other agencies for further

investigation or institution of appropriate proceedings).

       Unless otherwise stated, no Labor Code administrative violations and penalties

provide a private cause of action, and allowing parties to pursue remedies that

circumvent DWC’s exclusive procedures and remedies in the first instance “would

undermine the workers’ compensation system’s careful benefits-determination and

claims-resolution processes.” Mouton v. Houston ISD, No. 01-22-00205-CV, 2023 WL

                                             194065602, at *6 (Tex. App.—Houston [1st Dist.] June 20, 2023, pet. denied) (mem.

op.) (citing Accident Fund Gen. Ins. Co., 543 S.W.3d at 753).

          DWC may seek sanctions when an insurer fails to accurately pay benefits and

fails to timely or accurately report claim data. Tex. Pol. Subdivisions Joint Self-Ins. Fund,

681 S.W.3d at 493–94; see also In re Old Republic Risk Mgmt., No. 12-19-00144-CV, 2019

WL 2462486, at *3 (Tex. App.—Tyler June 12, 2019, orig. proceeding) (mem. op.)

(“For claims arising out of the claims-settlement process, [the TWCA,] with its

definitions, detailed procedures, and dispute resolution process, demonstrates

legislative intent for there to be no alternative remedies.”). That is, the workers’

compensation system “creates a level of certainty for employees by ensuring that an

employer’s violation of the State’s various administrative rules and regulations will not

deprive workers of the benefits under the system,” and the administrative and civil

penalties will not cause a company to forfeit its “subscriber” status. Exxonmobil Corp.

v. Kirkendall, 151 S.W.3d 594, 601 (Tex. App.—San Antonio 2004, pet. denied) (op. on

reh’g).

          As potentially applicable here, “[a] person commits an administrative violation

if the person . . . intentionally and knowingly obtains or maintains: . . . workers’

compensation insurance from an insurer that is not authorized to engage in business

in this state.” Tex. Ins. Code Ann. § 2051.152(a)(2)(A). The penalty attached to this

administrative violation is “not to exceed $5,000,” and each day such an

administrative violation occurs or continues is a separate violation. Id. § 2051.152(b)–

                                             20
(c).   Nothing in the record shows that Lane has requested the initiation of

administrative-violation proceedings as to Odle or its insurer. Cf. Tex. Lab. Code

Ann. § 415.031 (“Any person may request the initiation of administrative violation

proceedings by filing a written allegation with [DWC].”).

       Some of our sister courts have addressed the interplay between administrative

violations and the TWCA’s employer protections. See Becon Constr. Co. v. Alonso,

444 S.W.3d 824, 833 (Tex. App.—Beaumont 2014, pet. denied); Hand &amp; Wrist Ctr. of

Hous., P.A. v. SGS Control Servs., Inc., 409 S.W.3d 743, 751 (Tex. App.—Houston [1st

Dist.] 2013, no pet.). Specifically, committing an administrative violation does not

affect an employer’s ability to satisfy the employer element of the exclusive-remedy

defense. See Berry Contracting, L.P. v. Mann, 549 S.W.3d 314, 324 (Tex. App.—Corpus

Christi–Edinburg 2018, pet. denied) (holding that Section 406.123(f)’s requirement

that a general contractor file a coverage agreement with a workers’ compensation

insurance carrier—the failure of which constituted an administrative violation—did

not affect its ability to satisfy the exclusive-remedy’s employer element).

       In Becon, the employees argued that because the general workplace plan had not

complied with certain TDI administrative rules, their employers could not rely on

TWCA’s exclusive-remedy defense. 444 S.W.3d at 833. The employers replied that

TDI’s administrative rules were directory, not mandatory, and that TDI had not

created an administrative penalty stripping entities of the exclusive-remedy defense

provided by the legislature in the TWCA for violation of the regulations. Id. The

                                           21
court observed that because neither the TWCA nor the administrative rules described

a penalty for violating those rules, the employees’ interpretation would discourage

employer participation in the workers’ compensation scheme and “might prevent

some employees who would otherwise be covered by insurance from being covered

under these types of policies due to the violation of regulations.” Id. The court

concluded that the proper penalty for those administrative violations should be left to

TDI when it did not appear “that the [l]egislature intended for these types of

violations to strip employers of defenses or to cause employees to lose the benefits of

their coverage.” Id.; see ExxonMobil Corp. v. Alvarez, No. 14-22-00863-CV, 2024 WL

847701, at *8 (Tex. App.—Houston [14th Dist.] Feb. 29, 2024, no pet.) (mem. op.)

(relying on Becon for same proposition).

      In Hand &amp; Wrist Center, a medical-provider case, the court noted that Labor

Code Section 409.005, which required an employer to notify its insurance carrier of

employee injuries requiring absence from work for more than one day, did “not

provide that if the employer fails to comply it has forfeited its protections under the

[TWCA].” 409 S.W.3d at 750. Instead, such a failure is an administrative violation

that allows DWC to assess administrative penalties. Id. at 751 (citing Tex. Lab. Code

Ann. § 409.005(f)). In reaching this conclusion, the court relied on Regalado v. H.E.

Butt Grocery Co., 863 S.W.2d 107, 110 (Tex. App.—San Antonio 1993, no writ), and

Wesby v. Act Pipe &amp; Supply, Inc., 199 S.W.3d 614, 618 (Tex. App.—Dallas 2006, no

pet.), both of which construed an earlier version of the TWCA to conclude that the

                                           22
statutory scheme is not one of waiver when it explicitly provides for noncompliance

penalties. Hand &amp; Wrist Center, 409 S.W.3d at 750–51; see Regalado, 863 S.W.2d at 110
(“We believe the legislature intended to assure compliance with the notice

requirements through the assessment of a fine, not through the harsher penalty of

waiver.”).

C. Application

      To prevail on the affirmative defense of Section 408.001(a)’s exclusive remedy,

Odle had to establish that Lane (1) was its employee at the time of the work-related

injury and (2) was covered by its workers’ compensation insurance policy. See Waste

Mgmt. of Tex., Inc., 622 S.W.3d at 277; see also Grant v. Wind Turbine &amp; Energy Cables

Corp., No. 02-21-00036-CV, 2022 WL 2840142, at *9 (Tex. App.—Fort Worth

July 21, 2022, no pet.) (mem. op.) (holding that when the evidence conclusively

established that the plaintiff was an “employee” under the TWCA and that the

company had workers’ compensation coverage, the trial court properly granted

summary judgment for the company).

      To support its summary judgment motion on the exclusive-remedy affirmative

defense, Odle attached Lane’s amended original petition in which Lane alleged that he

was Odle’s employee at the time of the work-related injury and attached the affidavit

of Greiner, who averred that Lane had been injured while working for Odle and that

Lane was covered by the SUEZ Policy.



                                         23
      In addition to Greiner’s exhibits showing workers’ compensation insurance

coverage that directly referenced Texas and some of Texas’s Labor Code provisions,

as well as providing the contact information for TDI and DWC, Odle attached Lyon’s

affidavit attesting to the benefits Lane had received under the policy. See Tex. R. Civ.

P. 166a(c), (f); Guevara v. WCA Waste Corp., No. 01-15-01075-CV, 2017 WL 1483320,

at *5 (Tex. App.—Houston [1st Dist.] Apr. 25, 2017, pet. dism’d) (mem. op.) (“Waste

Corp. and Gonzales were not required to produce the actual [workers’ compensation]

policy to prove Waste Corp. had coverage; they were permitted to prove Waste

Corp.’s subscriber status with other evidence, such as affidavits.”); Baker v. Cook

Children’s Physician Network, No. 2-07-174-CV, 2008 WL 553712, at *3 (Tex. App.—

Fort Worth Feb. 28, 2008, pet. denied) (mem. op.) (holding affidavit of employer’s

risk-management director, which stated that the company was covered by a workers’

compensation policy when the employee worked for the company, was sufficient to

carry the employer’s burden to establish that it was a workers’ compensation

subscriber); see also Cox v. Waste Mgmt. of Tex., Inc., 300 S.W.3d 424, 428, 440 (Tex.

App.—Fort Worth 2009, pet. denied) (“[T]he evidence submitted by [the employer]

(through an affidavit signed by [its human-resources manager]) establishes that [the

company] carried workers’ compensation insurance during [the plaintiff’s]

employment and that [the plaintiff] was covered under the insurance.”).

      This evidence established Odle’s affirmative defense and defeated Lane’s no-

evidence grounds because, to meet the affirmative defense’s elements, Odle did not

                                          24
have to show that the SUEZ Policy had been approved by TDI or that Odle or its

parent company were registered with DWC. See Baker, 2008 WL 553712, at *3; see also

Martinez v. H.B. Zachry Co., 976 S.W.2d 746, 748 (Tex. App.—Houston [1st Dist.]

1998, pet. denied) (holding evidence sufficient to support summary judgment when

company’s claims manager swore in his affidavit that the document attached thereto

was a true and correct copy of the workers’ compensation policy’s information page

and that the policy covered the plaintiff at the time of his accident); see also Webester v.

GSE Lining Tech. LLC, No. 14-16-00841-CV, 2017 WL 6543441, at *7 (Tex. App.—

Houston [14th Dist.] Dec. 21, 2017, pet. denied) (mem. op.) (holding that company’s

affidavit and information page of its workers’ compensation insurance policy for the

relevant time frame were sufficient to establish that the company was a workers’

compensation insurance subscriber).

       After Odle established its affirmative defense, the summary judgment burden

shifted to Lane to raise a genuine issue of material fact as to workers’ compensation

coverage. See Grant, 2022 WL 2840142, at *8. Instead of responding to Odle’s

summary judgment motion by attaching evidence to raise a genuine issue of material

fact as to coverage, Lane acknowledged having received the policy’s benefits but—as

noted above—complained that there was no evidence that the policy had been

approved by TDI or that Odle or its parent company had registered with DWC as

workers’ compensation subscribers—neither of which, again—was an element of

Odle’s affirmative defense, and both of which presented only potential administrative

                                            25
violations under the TWCA. See Baker, 2008 WL 553712, at *3 (“Cook’s summary

judgment evidence—Testa’s affidavit—absent controverting summary judgment

evidence, conclusively established Cook’s subscriber status at the time of the incident

at issue.”); see also Warnke v. Nabors Drilling USA, L.P., 358 S.W.3d 338, 343–44 &amp; n.5

(Tex. App.—Houston [1st Dist.] 2011, no pet.) (op. on reh’g) (stating, in a different

statutory-based summary judgment challenge, that “[c]ourts in this state, including this

court, have held that the [Section 408.001(a)] exclusivity bar does not hinge on

whether notice has been provided to the employee” and noting that failure to give

such notice constituted an administrative violation punishable by a fine); Kirkendall,

151 S.W.3d at 600 (“[W]hile Mobil’s plan most likely violates an administrative rule,

nothing in Texas law provides that this violation causes an employer to forfeit its

subscriber status.”).9


       9
        On appeal, Lane lists several cases to “illustrate the evidence necessary to
establish [TDI] approval,” citing Warnke, Kirkendall, and McClelland v. Gronwaldt, No.
09-06-566-CV, 2007 WL 4681509, at *2 (Tex. App.—Beaumont Jan. 10, 2008, pet.
denied) (mem. op.). But Lane ignores that under Rule of Civil Procedure
166a(c)¸summary judgment evidence may consist of, among other things, supporting
affidavits, and that “[a] summary judgment may be based on uncontroverted
testimonial evidence of an interested witness . . . if the evidence is clear, positive and
direct, otherwise credible and free from contradictions and inconsistencies, and could
have been readily controverted.” Tex. R. Civ. P. 166a(c). Notwithstanding Lane’s
evidentiary preferences, Odle’s uncontroverted summary judgment evidence showed a
workers’ compensation policy referencing Texas coverage and showing payment of
the policy’s benefits to Lane, and Lane brought forth no evidence to raise a genuine
fact issue about the policy’s existence, coverage, or validity under Texas law. See
McClelland, 2007 WL 4681509, at *3 (pointing out that even if a company’s plan “most
likely violates an administrative rule, nothing in Texas law provides that this violation
causes an employer to forfeit its subscriber status”).

                                           26
      Lane did not challenge Odle’s summary judgment evidence showing that Odle

had provided workers’ compensation insurance to him at the time of the accident or

that he had received benefits from that insurance coverage. See Warnke, 358 S.W.3d at

344;10 see also Martinez, 976 S.W.2d at 748 (“Martinez put on no summary judgment

evidence to show that Zachry was not a subscriber at the time of the accident.”).

      Further, Lane searched for the wrong company name on TDI–DWC’s website,

and the evidence that he attached to support the traditional portion of his cross-

motion showed that there was no coverage as to SUEZ WTS USA, INC., not SUEZ

North America Inc., Odle’s parent company, and thereby failed to raise a fact issue as

to Odle’s coverage under the SUEZ Policy.

      Because Odle’s uncontroverted summary judgment evidence conclusively

established that Lane was Odle’s employee and that he was covered by Odle’s

workers’ compensation insurance policy at the time of his work-related injuries, the


      10
         Lane did not challenge Greiner’s affidavit testimony about the SUEZ Policy’s
Texas coverage, and such affidavit testimony has been held sufficient to support
summary judgment on the TWCA’s exclusive-remedy provision. See Guevara,
2017 WL 1483320, at *5–6 (holding employer satisfied its burden when it presented
an affidavit averring to coverage and plaintiff failed to present rebutting evidence); see
also Trevino v. Jalapeno Tree Operating, LLC, No. 05-23-00086-CV, 2024 WL 702290, at
*2 (Tex. App.—Dallas Feb. 21, 2024, no pet.) (mem. op.) (“The policy listing Jalapeno
Tree as an additional insured is sufficient summary judgment proof of workers’
compensation coverage.”); AmeriGas Propane, L.P. v. Aboytes-Muniz, No. 09-18-00122-
CV, 2019 WL 2127750, at *8–9 (Tex. App.—Beaumont May 16, 2019, pet. denied)
(mem. op.) (holding undisputed evidence of payments to injured worker made under
workers’ compensation policy shifted burden to worker to disprove or raise a fact
issue on the company’s exclusive-remedy defense).


                                           27
trial court did not err by granting summary judgment for Odle or by denying Lane’s

cross-motion. We overrule both of Lane’s issues without reaching his arguments on

Odle’s election-of-remedies summary judgment ground. See Tex. R. App. P. 47.1.

                                 IV. CONCLUSION

      Having overruled both of Lane’s issues, we affirm the trial court’s judgment.

                                                    /s/ Dana Womack

                                                    Dana Womack
                                                    Justice

Delivered: August 22, 2024




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